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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )        Case No. 2:17cr511-WKW
                                                )
JULIO DELGADO                                   )
AKASH KUMAR                                     )

                                         ORDER

       The parties recently finished briefing their arguments for and against Defendant

Julio Delgado’s (Docs. 41–43 & 111–113) and Defendant Akash Kumar’s (Doc. 128)

motions challenging the sufficiency and propriety of the allegations in the Indictment and

Superseding Indictment. In the meantime, the Grand Jury returned a Second Superseding

Indictment. See Doc. 146. The court’s review of the Second Superseding Indictment

reveals that at least some of the defendants’ concerns have been addressed in this new

filing. See, e.g., Doc. 146 at 6 (alleging that the defendants “knowingly, intentionally, and

willfully” engaged in a controlled substance conspiracy).        Developments during the

discovery process or otherwise during the course of this prosecution may have resolved

other concerns.

       Accordingly, and for good cause, Defendants Julio Delgado and Defendant Akash

Kumar are ORDERED to show cause, no later than March 6, 2018, why the pending

motions (Docs. 41–43, 111–113 & 128) should not be denied as moot. To the extent any

portion of a defendant’s motions has not been mooted by the return of the Second

Superseding Indictment or otherwise, the defendant shall address in his response to this
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order whether and how the Second Superseding Indictment impacts the court’s analysis of

his motions. To the extent the defendants do not concede that all motions have been

mooted, the court intends to construe the motions as challenges to the Second Superseding

Indictment, and no later than March 13, 2018 the Government may file a response to

either or both of the defendant’s submissions.

      DONE on the 28th day of February, 2018.
